Case 8:16-cv-01570-JVS-FFM Document 62 Filed 01/12/21 Pagelof1 Page ID #:644

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

 

Case No. SACV 16-1570 JVS(FFMx) Date January 12, 2021
Title Michael Dobeck v. Corba Engineering Inc. et al.
Present: The James V. Selna, U.S. District Court Judge
Honorable

Lisa Bredahl Not Present

Deputy Clerk Court Reporter

Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Not Present Not Present

Proceedings: [IN CHAMBERS] Order to Show Cause Regarding Stay

On June 22, 2017, the Court stayed this case pending final disposition of a related
Nevada state court case. ECF No. 54. Under the terms of the Order granting the stay, the
parties are required to submit to the Court a status report describing the status of the
related Nevada state court case every 90 days. Id. The parties have failed to file a status
report with the Court since February 25, 2019. 2019 Status Report, ECF No. 61.

The Court orders Dobeck to show cause in writing within ten days why the Court
should not dismiss the case for failure to prosecute under Fed. R. Civ. P. 41(b).

IT IS SO ORDERED.

 

Initials of Preparer Imb

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
